      Case 5:06-cv-04228-RMW Document 34 Filed 03/18/09 Page 1 of 2


 1

 2

 3

 4

 5

 6                                                                             *E-FILED - 3/18/09*
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                               SAN JOSE DIVISION

11
      RICKY RAY WYATT,                                                      C 06-4228 RMW (PR)
12
                                                               Plaintiff,   [] ORDER
13                                                                          GRANTING DEFENDANTS’
                        v.                                                  MOTION FOR A SECOND
14                                                                          EXTENSION OF TIME TO
      D. SWEARINGEN, et al.,                                                FILE A DISPOSITIVE
15                                                                          MOTION
                                                           Defendants.
16

17        Defendants move for a forty-five-day extension, up to and including May 8, 2009, in which

18 to file a dispositive motion. The Court has read and considered Defendants’ motion and the

19 accompanying declaration of counsel and, good cause appearing,

20        IT IS ORDERED that Defendants’ requested second extension of time is GRANTED. The

21 time in which Defendants may file a dispositive motion is extended up to and including May 8,

22 2009. The time in which Plaintiff may file his opposition is extended up to and including June 8,

23 2009. And Defendants shall file a reply concerning their dispositive motion no later than fifteen

24 days after Plaintiff’s opposition is filed.

25

26 Dated:       3/16/09                       ____________________________________________
                                                  HONORABLE RONALD M. WHYTE
27                                                United States District Judge

28
     [] Order Granting Defs.’ Mot. Second EOT File Dispositive Mot.                    Wyatt v. Swearingen, et al.
                                                                                          C 06-4228 RMW (PR)
                                                              1
       Case 5:06-cv-04228-RMW Document 34 Filed 03/18/09 Page 2 of 2


 1   20187500.wpd


 2   SF2009201313


 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     [Proposed] Order Granting Defs.’ Mot. Second EOT File Dispositive Mot.   Wyatt v. Swearingen, et al.
                                                                                 C 06-4228 RMW (PR)
                                                             2
